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ORIGINAL
                                                                    FILED IN OPEN COURT
                                                                       U.S.D.C.-Atlanta



                IN THE UNITED STATES DISTRICT COURT JUN ~ 8 2021
              FOR THE NORTHERN DISTRICT OF GEORGIA JAM^S ^TTEN. Clerk
                                                                                 Deputy Cle*
                            ATLANTA DIVISION Dy- <



   UNITED STATES OF AMERICA

         V.
                                            Criminal Indictment

   VlKAS SINGLA                             No l i21 CR 0228


 THE GRAND JURY CHARGES THAT:

                                 Infcroduction

   1. At all times relevant to this Indictcnent:

         a. Gwinnett Medical Center was a not-for-profit health care

              network that provided health care services at two hospitals/

              located in LawrencevUle and Duluth/ Georgia/ in the Northern

              District of Georgia.

         b. Gwinnett Medical Center s Lawrenceville hospital was located

              at 1000 Medical Center Boulevard/ Lawrenceville, Georgia.

         c. Gwinnett Medical Center's Duluth hospital was located at

              3620 Howell Ferry Road/ Duluth/ Georgia.

         d. The defendant/ VIKAS SINGLA, was employed by and ran a

              network security company that offered services for the

              healthcare industry. SINGLA was the chief operating officer

              of the company.
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                                  Count One
               (Intentional Damage to a Protected Computer)

   2. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraph 1 of this Indictment as if fully set forth

here.


   3. On or about September 27,2018, in the Northern District of Georgia

and elsewhere/ the defendant/ VIKAS SINGLA/ aided and abetted by

others unknown to the Grand Jury/ knowingly caused and attempted to

cause the transmission of a program/ information/ code/ and command/

and/ as a result of such conduct/ intentionally caused and attempted to

cause damage without authorization to a protected computer—that is/ one

or more computers used by Gwirmett Medical Center that operated the

Duluth/ Georgia hospitaFs Ascom phone system—and the offense caused

and would/ if completed/ have caused:

          a. loss to Gwinnett Medical Center during the one-year period

             from SINGLA s course of conduct affecting protected

             computers aggregating at least $5/000 in value;

          b. the modification/ impairment/ and potential modification and

             impairment of the medical examination/ diagnosis/ treatment

             and care of one or more individuals; and

          c. damage affecting at least 10 protected computers during a

             one-year period;

all in violation of Title 18, United States Code/ Sections 1030(a)(5)(A)/ (b)/

and (c)(4)(B) and Section 2.
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                      Counts Two through Seventeen
              (Intentional Damage to a Protected Computer)

   4. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraph 1 of this Indicfanent as if fully set forth

here.


   5. On or about September 27,2018, m the Northern District of Georgia

and elsewhere/ as specified in the following table/ the defendant/ VIKAS

SINGLA/ aided and abetted by others unknown to the Grand Jury/

knowingly caused and attempted to cause the transmission of a program/

information/ code/ and command/ and/ as a result of such conduct/

intentionally caused and attempted to cause damage without

authorization to a protected computer—that is/ one or more computers

used by Gwinnett Medical Center m the Duluth and Lawrenceville/

Georgia hospitals that operated the printers identified in the following

table — and the offense caused and would/ if completed/ have caused:

         a. loss to Gwinnett Medical Center during the one-year period

             from SINGLA's course of conduct affecting protected

             computers aggregating at least $5/000 in value; and

         b. the modification/ impairment/ and potential modification and

             impairment of the medical examination/ diagnosis/ treatment

             and care of one or more individuals:


   Count                         Protected Computer

            The Lexmark MS811 printer identified as LJ8011 using
            Internet Protocol (//IP//) address 10.64.88.69.
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    Count                           Protected Computer
             The Lexmark MX811 printer identified as LJ8029 using IP
       3
             address 10.64.88.63.

             The Lexmark MSSlldhe printer identified as LJ7002 using
       4
             IP address 10.65.136.57.

             The Lexmark MS812 printer identified as LJ7034 using IP
       5
             address 10.65.136.27.
             The Lexmark MX811 printer identified as LJ7887 using IP
       6
             address 10.65.216.76.
             The Lexmark MS610dn printer identified as LJ7022 using
       7
             IP address 10.65.216.50.
             The Lexmark MX710 printer identified as LJ7029 using IP
       8
             address 10.65.208.58.
             The Lexmark MS610dn printer identified as PDLSP02
       9
             using IP address 10.80.32.39.
             The Lexmark MX310dn printer identified as PLDLPH01
      10
             using IP address 10.80.16.43.
             The Lexmark MS415dn printer identified as LJ7767 using
      11
             IP address 10.81.24.40.
             The Lexmark MX812 printer identified as LJ7738 using IP
      12
             address 10.81.24.7.
             The Lexmark CS510de printer identified as LJ7786 using IP
      13
             address 10.80.48.47.
             The Lexmark MXSlldhe printer identified as LJ8387 using
      14
             IP address 10.80.56.55.
            The Lexmark MX310dn printer identified as LJ7797 using
      15
            IP address 10.80.16.184.
            The Lexmark MS312dn printer identified as PDL2RR02
      16
            using IP address 10.80.32.95.
            The Lexmark MS312dn printer identified as PDL2RR01
      17
            using IP address 10.80.32.61.

   All in violation of Title 18, United States Code/ Sections 1030(a)(5)(A)/

(b)/ and (c)(4)(B) and Section 2.
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                                Count Eighteen
                    (Obtaining Information by Computer
                         from a Protected Computer)


   6. The Grand Jury re-alleges and incorporates by reference the factual

allegations contained in paragraph 1 of this Indictment as if fully set forth

here.


   7. On or about September 27, 2018, in the Northern District of Georgia

and elsewhere/ the defendant/ VIKAS SINGLA/ aided and abetted by

others unknown to the Grand Jury, intentionally accessed and attempted

to access a computer without authorization and exceeded and attempted

to exceed authorized access to a computer/ and thereby obtained and

attempted to obtain information from a protected computer/ that is/ a

Hologic R2 Digitizer used by Gwinnett Medical Center m the

Lawrenceville/ Georgia hospital/ and the offense was committed for

purposes of commercial advantage and private financial gain/ in violation

of Title 18, United States Code/ Sections 1030(a)(2)(C)/ (b)/ (c)(2)(B)(i)/ and

Section 2.
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                                  Forfeihire

   8. Upon conviction of an offense alleged in this Indictment/ the

defendant/ VIKAS SINGLA, shall forfeit to the United States/ pursuant to

Title 18, United States Code, Sections 982(a)(2)(B) and 1030(i), the

defendant's interest in any and aU personal property that was used or

intended to be used to commit or to facilitate the commission of such

violations/ as weU as any and aU property constituting, or derived from/

proceeds obtained directly or indirectly as a result of said violations. Such

property includes, but is not limited to/ a money judgment for a sum of

money in United States currency equal to the amount of proceeds the

defendant obtained as a result of the offenses for which the defendant is

convicted.


   9. If/ as a result of any act or omission of the defendant/ VIKAS

SINGLA/ any property subject to forfeiture:

         a. cannot be located upon the exercise of due diligence;

         b. has been transferred or sold to, or deposited with, a third

             party;

         c. has been placed beyond the jurisdiction of the Court;

         d. has been substantially diminished in value; or

         e. has been commingled with other property which cannot be

             subdivided without difficulty;
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the United States of America intends/ pursuant to Title 21, United States

Code/ Section 853(p)/ as incorporated by Title 28, United States Code/

Section 2461 (c) to seek forfeiture of any other property of said defendant

up to the value of the forfeitable property.



                                                  A \ \^^>- BILL
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                                                       FOR^PERS^N
 KURT R. ERSKINE
  Acting United States Attorney



      ^-•^
SAMIR KAUSHAL
  Assistant United States Attorney

Georgia Bar No. 935285

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BRIAN MUND
 Trial Attorney

 Computer Crime and Intellectual Property Section

 LJ.S. Department of Justice, Criminal Division




600 U.S. Courthouse
75 Ted Turner Drive SW
Atlanta/ GA 30303




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